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 8                             UNITED STATES DISTRICT COURT
 9                           CENTRAL DISTRICT OF CALIFORNIA
10

11   AHJEEB JAMAL BOYD,                 )     NO. CV 21-2890-JAK(E)
                                        )
12                    Petitioner,       )
                                        )
13         v.                           )            JUDGMENT
                                        )
14   NEIL McDOWELL, WARDEN,             )
                                        )
15                                      )
                      Respondent.       )
16                                      )
                                        )
17

18         Pursuant to the Order Accepting Findings, Conclusions and
19   Recommendations of United States Magistrate Judge,
20

21         IT IS ADJUDGED that the Petition is denied and dismissed without
22   prejudice.
23

24               DATED:      2FWREHU                     , 2021.
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26
                                               JOHN A. KRONSTADT
27                                        UNITED STATES DISTRICT JUDGE
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